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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :       CASE NO. 1:21-cr-00311-CRC
               v.                              :
                                               :
JEREMY DANIEL GROSECLOSE,                      :
                                               :
               Defendant.                      :

                 UNITED STATES’ REQUEST FOR A STATUS HEARING

       The United States of America respectfully requests this Court schedule a status hearing in

this matter as soon as practicable to discuss the trial schedule.

       Trial is scheduled to commence in this case on November 14, 2022. See Dkt. 44. On

September 9, 2022, counsel for Mr. Groseclose filed a Consent Motion To Continue Trial and

Modify Pretrial Deadlines, seeking a continuance of the trial to May 2023. See Dkt. 48. In

support of her motion—which the United States did not oppose—counsel cited her participation

in the following trials: United States v. Moore, 18-cr-198 (JEB) (September 19, 2022); United

States v. Nordean, 21-cr-175 (TJK) (December 13, 2022), United States v. Crowl, 21-cr-028

(APM) (February 1, 2023), and an unspecified trial beginning March 20, 2023. See id. On

September 12, 2022, the Court denied the motion. See September 12, 2022 Minute Order. The

Court noted, in its order, “Should the Moore trial last longer than expected and make it

impossible for counsel to fulfill her obligations here, she may renew the motion.” Id. The United

States understands that the Moore trial is currently pending a verdict, that defense counsel made

her closing argument in that matter on October 19, 2022, and that the jury began its deliberations

on October 20, 2022.

       On September 30, 2022, by email, defense counsel stated that she intended to file another

motion to continue, or to seek to withdraw from the case. Three weeks ago, on October 6, 2022,

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defense counsel reiterated her intention to file that motion, and stated she would do so that

weekend (October 8–9). Since that October 6 exchange, the United States has repeatedly

encouraged defense counsel to make her motion, if that remained her intention, and noted that

the United States would not oppose a motion for a continuance under the circumstances. Earlier

today, the United States informed defense counsel by email that if she did not make such a filing

by the close of business, it would file this request for a hearing. Defense counsel replied, and

stated that she still intended to file her motion to continue, or in the alternative to withdraw, but

did not commit to file the motion today.

       Meanwhile, the United States has been diligently preparing for trial. The United States

has reached out to defense counsel regarding several pretrial matters in an effort to stay on

schedule with the Court’s Pre-Trial Order, see Dkt. 44. Specifically:

      The Court ordered the parties to exchange exhibit listed by October 21, 2022, and to file

       objections to the admissibility of exhibits by October 28, 2022. The United States

       provided its exhibit list to defense counsel on October 21, 2022. The United States has

       not received any response to its exhibit list, nor has the United States received an exhibit

       list from defense counsel.

      With its exhibit list, the United States provided defense counsel with thirteen proposed

       stipulations. These stipulations are designed to resolve uncontested issues and streamline

       the United States’ in-court presentation, including by resolving the need to call several

       witnesses. The United States has not received any response to its proposed stipulations.

      The Court imposed an October 31, 2022, deadline for the filing of a “short narrative

       description of the case, to be read to the prospective jurors.” On October 26, 2022, the




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       United States provided defense counsel with its proposal. The United States has not

       received any response.

      The Court imposed a November 8, 2022, deadline for filing proposed jury instructions

       and a proposed verdict form. The United States sent defense counsel its proposals for

       these filings on October 27, 2022. The United States has not received any response.

       A pretrial conference is currently scheduled for November 10, 2022, see Dkt. 44—two

business days before trial is scheduled to commence on November 14, 2022. Given the above

facts, the United States submits that a hearing to discuss the trial schedule in advance of

November 10, 2022, would be efficient and productive.

       Accordingly, the United States respectfully requests that the Court hold a status hearing

as soon as practicable to discuss the trial schedule in this matter. To the extent it would aid the

Court in scheduling, the United States is amenable to a virtual hearing.


                                       Respectfully submitted,
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